Case 14-75160-sms   Doc 72   Filed 02/28/19 Entered 02/28/19 14:52:17          Desc Main
                             Document     Page 1 of 2




  IT IS ORDERED as set forth below:



  Date: February 28, 2019
                                             _________________________________

                                                        Sage M. Sigler
                                                 U.S. Bankruptcy Court Judge

 ________________________________________________________________
                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:   ANTHONY CARVER MCCLARN,        {   CHAPTER 13
                                        {
         DEBTOR.                        {   CASE NO. A14-75160SMS
                                        {
                                        {   JUDGE SIGLER


           ORDER GRANTING TRUSTEE’S MOTION TO REOPEN CASE


      On February 26, 2019, the Chapter 13 Trustee filed her

Motion to Reopen this case (docket 71).            The Trustee filed this

Motion asking that the Court reopen this case so that she may

file a Notice of Final Cure Payment pursuant to Fed. R. Bankr.

P. 3002.1.

      The Court has reviewed the Trustee’s Motion and the record

of the case.    It appearing that the Trustee’s Motion was served

on all parties in this case and that no hearing on the matter is

necessary, it is hereby
Case 14-75160-sms   Doc 72   Filed 02/28/19 Entered 02/28/19 14:52:17   Desc Main
                             Document     Page 2 of 2


      ORDERED, that the Trustee’s Motion is GRANTED.             This case

is hereby reopened. It is further

      ORDERED, that the filing fee associated with the Trustee’s

Motion is hereby WAIVED.

      The Clerk of Court is directed to serve a copy of this

Order on the Debtor, Debtor’s attorney, the Chapter 13 Trustee,

and all parties in interest.

                             *** END OF DOCUMENT***

Presented by:

______/s___________
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